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AFFlDAVIT OF KEITH BAKER

l, Keith Baker of 44 Lakeside Drive, North Salem, NY 11560 personally witnessed Mr.
Daniel Kropas pay Mr. Angelo Efthimiatos cash for a partnership in Beechcraft Sien‘a Airplane,
tail number N6716T on two occassions. The first payment I witnessed Was for Sl,OOO dollars in
the last days of November 2012. The second payment I Witnessed was for Sl 1,500 on December
15, 2012. Mr. Angelo Efthimatos is my half-brother and we spoke often on a daily basis. On
numerous occasions l discussed the partnership in the airplane With Mr. Efthimatos and Mr.
Kropas separately. Although, I Witnessed two payments, from discussions with Mr. Efthimatos
and Mr. Kropas, I clearly understood that Mr. Kropas paid approximately $20,000 to Mr. l
Ei°chimatos. Being that l am both Mr. Efthimatos’ half-brother, and Mr. Kropas’ tenant, l had
numerous discussions With both of them and the topic of the plane came up often as this was a
discussion point that all three of us had in common. I know that Mr. Kropas was given keys the
plane, flew the plane, and was paying hangar rent for the plane. Mr. Efthimatos regarded Mr.
Kropas as his partner and co-owner of the plane. I have Witnessed the plane and have flown in
the plane (N6716T) and fully understand that the monies provided to Mr. Efthimiatos by Mr.
K_ropas Were for ownership in N6716T.

W/§M

 

 

 

 

Keith Bak'er
JURAT
State of Connecticut
County of Fairfield ss. (Danbury)
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Sllbs(;be:‘»-E'E'1 SWOrIZl to before me this 2 3 day of M M\'{ , 20 l Ll.
J ames F McLaughlin

Commissioner of the Supen'or Court

